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                                  4                                   UNITED STATES DISTRICT COURT

                                  5                               NORTHERN DISTRICT OF CALIFORNIA

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                                  7        WHATSAPP INC., et al.,
                                                                                        Case No. 19-cv-07123-PJH
                                  8                     Plaintiffs,

                                  9              v.                                     ORDER GRANTING MOTION TO
                                                                                        EXTEND AND SETTING BRIEFING
                                  10       NSO GROUP TECHNOLOGIES                       SCHEDULE
                                           LIMITED, et al.,
                                  11                                                    Re: Dkt. No. 119
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14           Before the court is defendants’ motion to extend time, (Dkt. 119), for them to file

                                  15   an opposition to plaintiffs’ motion to compel, (Dkt. 116). Defendants request that the

                                  16   court set a briefing schedule whereby they would not file an opposition until ten days after

                                  17   the entry of a protective order.1 Plaintiffs filed a statement regarding defendants’ motion

                                  18   indicating that they take no position on the request for an extension of time to oppose

                                  19   their motion to compel. Dkt. 121.

                                  20           Defendants explain that the only reason for them to request an extension of the

                                  21   briefing schedule is because the parties do not have a protective order in place that

                                  22   would permit defendants to share information with plaintiffs. Dkt. 119 at 2. The court

                                  23   agrees that extending the briefing schedule is warranted.

                                  24           For the foregoing reasons, the court GRANTS the motion and SETS the following

                                  25

                                  26   1 Defendants also state that they would not object to an equivalent extension of plaintiffs’
                                  27   deadline to oppose defendants’ pending motion to stay pending appeal. Dkt. 119 at 1
                                       n.2. Plaintiffs have not moved the court to extend their briefing schedule and, therefore,
                                  28   the court takes no action on the briefing schedule for defendants’ motion to stay pending
                                       appeal.
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                                  1    briefing schedule. Defendants shall file their opposition to plaintiffs’ motion to compel on

                                  2    or before September 2, 2020 and plaintiffs shall file their reply, if any, in support of the

                                  3    motion to compel on or before September 9, 2020.

                                  4           IT IS SO ORDERED.

                                  5    Dated: August 17, 2020

                                  6                                                  /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                  7                                                  United States District Judge
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Northern District of California
 United States District Court




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